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                          EXHIBIT 4
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John Yin

From:                Denver Gingerich <denver@sfconservancy.org>
Sent:                Thursday, April 18, 2019 10:30 AM
To:                  Aaron Fennimore
Cc:                  Pamela Chestek; Judy Chow; Karen Sandler
Subject:             Re: [EXTERNAL] Vizio - D24f-F1 - Round 1 ("Re: Copyright Infringement by D24f-F1 Television and XR6P Tablet")



Hi Aaron,

As we approach the 4 week mark from when your chipmaker provided a new deliverable date, I wanted to see how it
was going or if I perhaps missed an email from you. Is your chipmaker taking longer than the 2‐3 weeks that they
promised you?

It has been over 2 months since we sent our feedback on Vizio's first source candidate so we are becoming concerned
that this is not a high enough priority for your chipmaker. Please reiterate our concern to them if you are indeed still
waiting on them.

Thanks for your continued efforts on this.

Denver


On 25/03/19 08:42 AM, Pamela Chestek wrote:
> Hi Aaron,
>
> Thanks for keeping us in the loop, we very much appreciate it. And
> yes, the package is better than individual files.
>
> Pam
>
> Pamela S. Chestek
> Chestek Legal
> PO Box 2492
> Raleigh, NC 27602
> 919‐800‐8033
> pamela@chesteklegal.com
> www.chesteklegal.com
>
> On 3/22/2019 6:15 PM, Aaron Fennimore wrote:
>>
>> Hi Pam,
>>
>> Further to my voicemail, our chipmaker was unable to send us a
>> complete candidate for release this week. They informed us the
>> process would take 2‐3 weeks. We’ve asked them to expedite the
>> matter, and I will keep you posted on the progress. Rather than send
>> you the few individual files they sent us last week, we felt it would
>> be more beneficial to provide the entire package. However, if you
>> have questions or would like to discuss, feel free to contact me at
>> 949‐556‐8328.
>>

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>> Regards,
>>
>> ‐Aaron
>>
>> *From: *Aaron Fennimore <Aaron.Fennimore@vizio.com>
>> *Date: *Friday, March 15, 2019 at 9:47 AM
>> *To: *Pamela Chestek <pamela@chesteklegal.com>, Denver Gingerich
>> <denver@sfconservancy.org>, Judy Chow <Judy.Chow@vizio.com>
>> *Cc: *Karen Sandler <karen@sfconservancy.org>
>> *Subject: *Re: [EXTERNAL] Vizio ‐ D24f‐F1 ‐ Round 1 ("Re: Copyright
>> Infringement by D24f‐F1 Television and XR6P Tablet")
>>
>> Denver,
>>
>> I’m writing to provide an update on our next deliverable. On
>> Wednesday, we received new files from the third‐party chipmaker. Upon
>> review, it appears the files do not comprise a complete candidate. We
>> requested that they send everything as a complete package, but I have
>> not yet received a response. I will continue to follow‐up until we
>> have the new candidate. In any event, we should have something to
>> send you by next week.
>>
>> Regards,
>>
>> ‐Aaron
>>
>> *From: *Aaron Fennimore <Aaron.Fennimore@vizio.com>
>> *Date: *Thursday, February 28, 2019 at 1:20 PM
>> *To: *Pamela Chestek <pamela@chesteklegal.com>, Denver Gingerich
>> <denver@sfconservancy.org>, Judy Chow <Judy.Chow@vizio.com>
>> *Cc: *Karen Sandler <karen@sfconservancy.org>
>> *Subject: *Re: [EXTERNAL] Vizio ‐ D24f‐F1 ‐ Round 1 ("Re: Copyright
>> Infringement by D24f‐F1 Television and XR6P Tablet")
>>
>> Hi Pam,
>>
>> As I mentioned, we submitted the request to our chipmaker. We are
>> awaiting a full response from them, and I will provide an update as
>> soon as I have it. My email did not say VIZIO would provide no
>> further response. We have cooperated and intend to continue
>> cooperating with the Conservancy in this matter. I would further note
>> that VIZIO purchases fully assembled units from television
>> manufacturers. VIZIO is not in a contractual relationship with the
>> chipmaker to supply chips; instead, the TV manufacturers source chips from the chipmakers.
>>
>> As we discussed during our call, VIZIO is a relatively small company
>> with limited resources. VIZIO is in a period of transition, and new
>> processes are continually being implemented and refined, which we
>> expect will help with similar requests in the future.
>>
>> While we remain hopeful that we can provide a further response by
>> mid‐March, this is necessarily contingent upon prompt cooperation

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>> from a third‐party chipmaker based overseas. As I’m sure you
>> understand, it can be difficult to guarantee a timeframe when matters
>> are not entirely within our control. We appreciate the Conservancy’s
>> continued patience ,and we will be back in touch soon.
>>
>> Regards,
>>
>> ‐Aaron
>>
>> *From: *Pamela Chestek <pamela@chesteklegal.com>
>> *Date: *Thursday, February 28, 2019 at 7:17 AM
>> *To: *Aaron Fennimore <Aaron.Fennimore@vizio.com>, Denver Gingerich
>> <denver@sfconservancy.org>, Judy Chow <Judy.Chow@vizio.com>
>> *Cc: *"Jerry C. Huang" <jerry.huang@vizio.com>, Karen Sandler
>> <karen@sfconservancy.org>
>> *Subject: *Re: [EXTERNAL] Vizio ‐ D24f‐F1 ‐ Round 1 ("Re: Copyright
>> Infringement by D24f‐F1 Television and XR6P Tablet")
>>
>> Dear Aaron,
>>
>> You reassured me in our phone call on November 30 that Vizio has
>> tight control over its suppliers, including having procedures in
>> place to ensure that its suppliers meet their obligations. I
>> therefore do not understand how there can be any question that your
>> suppliers will provide the missing code, implied in your statement
>> that it might not be "something they can accommodate," and that they
>> are obliged to do so in a timely fashion.
>>
>> I would like to also point out that it appears that the Vizio
>> products Conservancy purchased, and perhaps many more Vizio products,
>> are currently out of compliance with at least one open source
>> software license. Further, they have always been out of compliance;
>> in other words, every single device manufactured is a copyright infringement.
>> The license non‐compliance was brought to Vizio's attention more than
>> six months ago, on August 7, 2018, yet Vizio is still out of
>> compliance even though the industry standard for compliance is 30
>> days. You asked for Conservancy's patience while Vizio worked through
>> business issues and the holiday selling season, and Conservancy
>> respected your business needs and waited with great patience. Your
>> statement now that Vizio will respond whenever it likes, perhaps
>> never, is hardly appropriate given Conservancy's extended wait and
>> the significant effort it has expended thus far assisting Vizio in
>> reaching compliance.
>>
>> If you are saying that Vizio can never come into compliance, please
>> let me know so we can move forward to the discussion of Vizio's
>> remediation of the currently existing copyright infringement and
>> terms of settlement. Otherwise, please give me a date by which you
>> expect Vizio to be fully in compliance with the software licenses.
>>
>> Best regards,
>>

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>> Pam
>>
>> Pamela S. Chestek
>> Chestek Legal
>> PO Box 2492
>> Raleigh, NC 27602
>> 919‐800‐8033
>> pamela@chesteklegal.com <mailto:pamela@chesteklegal.com>
>> www.chesteklegal.com <http://www.chesteklegal.com>
>>
>> On 2/26/2019 5:47 PM, Aaron Fennimore wrote:
>>
>> Hi Denver,
>>
>> Thanks for your voicemail. I confirm receipt of the below email.
>> We have already made a request of our chip maker, who is overseas,
>> to see if this is something they can accommodate. I will let you
>> know when I hear back. We will do our best to provide whatever
>> additional information we can make available. We will do so on a
>> timeline that is within reason and makes sense for our operation.
>>
>> Regards,
>>
>> ‐Aaron
>>
>> *From: *Denver Gingerich <denver@sfconservancy.org>
>> <mailto:denver@sfconservancy.org>
>> *Date: *Wednesday, February 13, 2019 at 5:24 PM
>> *To: *Judy Chow <Judy.Chow@vizio.com>
>> <mailto:Judy.Chow@vizio.com>, Aaron Fennimore
>> <Aaron.Fennimore@vizio.com> <mailto:Aaron.Fennimore@vizio.com>
>> *Cc: *Pamela Chestek <pamela@chesteklegal.com>
>> <mailto:pamela@chesteklegal.com>, "Jerry C. Huang"
>> <jerry.huang@vizio.com> <mailto:jerry.huang@vizio.com>, Karen
>> Sandler <karen@sfconservancy.org> <mailto:karen@sfconservancy.org>
>> *Subject: *[EXTERNAL] Vizio ‐ D24f‐F1 ‐ Round 1 ("Re: Copyright
>> Infringement by D24f‐F1 Television and XR6P Tablet")
>>
>> Hi Judy and Aaron,
>>
>> We have reviewed the source candidate you sent us and have
>> generated the
>> following report for you. Please make sure that you review the "Next
>> steps" section as your first source candidate is not complete and
>> requires fixes. Let us know if you have any questions. Thanks!
>>
>>
>>
>>
>> = Vizio ‐ D24f‐F1 ‐ Round 1 =
>>
>> These are the results of the complete corresponding source (CCS)

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>>   check
>>   we did on the Vizio candidate source code for its D24f‐F1 TV made
>>   available to us via OneDrive on 2019‐01‐25. This is the first source
>>   candidate we have received from Vizio. In particular, we received the
>>   following file:
>>
>>   * 5581_oss.tar.gz (453 MiB) with SHA‐256 checksum
>>   22b26baa27c49c06fd0c59c9e820224a08158593968d44a9d6949c6ab645707e
>>
>>   In this check, per the GPL's requirements, we are seeking to both (a)
>>   confirm that we are able to build binaries from the source that
>>   correspond to the binaries Vizio ships and (b) verify that we are
>>   able
>>   to replace the binaries Vizio ships with our own (possibly modified)
>>   binaries, i.e. using installation instructions that Vizio might
>>   provide.
>>
>>   The binary files we have received from Vizio are embedded in the
>>   TV that
>>   Vizio distributed to us. In order for us to more easily verify that
>>   Vizio is complying with the GPL, Vizio should provide us with a
>>   firmware
>>   image or similar that contains the binary files distributed on the
>>   TV.
>>   We hope to receive this along with the next source candidate.
>>
>>
>>
>>   == Check summary of sources provided ==
>>
>>   The primary issues we found were a dearth of build instructions as
>>   well
>>   as a complete lack of installation instructions. There was no
>>   information that mentioned how one might build each package so we
>>   had to
>>   guess about which Makefile and/or build script to run for each
>>   package.
>>   And in many cases it was not possible or straight‐forward to build ‐
>>   this must be resolved in the next source candidate.
>>
>>   In particular, though we did notice that a compiler was included
>>   in the
>>   source release, it did not appear to match the cross‐compiler that
>>   was
>>   expected by certain packages. So the next source candidate must
>>   include
>>   (or describe how to find) the correct cross‐compiler for all
>>   packages,
>>   as well as instructions for how to build and install that
>>   cross‐compiler
>>   (since some packages appeared to expect it in a hard‐coded location).
>>

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>>   We generally recommend that the source release include a README or
>>   similar in the main directory explaining exactly how to build and
>>   install all of the packages. See section 21.2 of
>>   https://compliance.guide/pristine‐example for an excellent example.
>>
>>
>>
>>   == Initial build process ==
>>
>>   We did not find any main README file or similar in the source
>>   candidate
>>   ‐ all we found in the top‐level directory was oss_list_5581.xlsx , a
>>   file that appeared to list many of the included source packages,
>>   along
>>   with the names of the licenses they appeared to use and their
>>   approximate locations in the source candidate. While helpful in
>>   determining where we should look to start building some of the
>>   packages,
>>   it would be better to have a README file or similar plaintext file
>>   that
>>   describes how to build and install each package (if it is too
>>   difficult
>>   to create a computer‐readable script that does some or all of these
>>   steps in an automated fashion).
>>
>>   Even if we used oss_list_5581.xlsx to find the files to build, we
>>   noticed that this spreadsheet was incomplete ‐ it did not mention
>>   packages such as BusyBox, which were included in the source
>>   release and
>>   presumably used on the device. Because of these sorts of issues, we
>>   re‐iterate our recommendation to instead use a script that builds
>>   all of
>>   the necessary packages automatically, providing instructions for
>>   installing the resulting binaries on the device to satisfy the GPL's
>>   requirements for build and installation instructions.
>>
>>   Given the partial information we had to go on, we attempted to build
>>   some of the packages referenced by oss_list_5581.xlsx (and some other
>>   packages as well). We were not successful in building any of these
>>   packages, largely because of a lack of build instructions. We did not
>>   notice any installation instructions either, so even if we had
>>   been able
>>   the build the packages, we would not have been able to install
>>   them on
>>   the device as the GPL requires we be able to do.
>>
>>
>>
>>   == Specific build/package issues ==
>>
>>
>>   === oss/source/busybox ===

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>>
>>   This folder contained NOTICE.txt and OSS_INFO.txt files as well as
>>   1.15.3 and 1.18.5 folders. From the OSS_INFO.txt file we noticed that
>>   version 1.15.3 appeared to be used so it was unclear to us why 1.18.5
>>   had been included at all. Either delete this from future source
>>   versions, or provide instructions for how to build it, as it is
>>   confusing to the user why it is there.
>>
>>   We tried to build the contents of the 1.15.3 folder by running "make"
>>   from inside it, but we got the following error:
>>
>>   "tar (child): zlib‐1.2.3.tar.gz: Cannot open: No such file or
>>   directory"
>>
>>   We then copied the file we thought it might be referencing ‐
>>   oss/source/zlib/zlib‐1.2.3.tar.gz ‐ into the 1.15.3 folder and tried
>>   "make" again. This time we got the following error:
>>
>>   "make[1]: armv6z‐mediatek‐linux‐gnueabi‐gcc: Command not found"
>>
>>   This suggests that a cross‐compiler is supposed to be used to build
>>   BusyBox, but no mention was made of where to obtain the
>>   cross‐compiler
>>   or how to install it. Such instructions must be provided in the next
>>   source candidate, as they are a crucial part of the complete
>>   corresponding source code.
>>
>>
>>   === apollo/gcc.tar.gz ===
>>
>>   Given that the BusyBox installation had required a cross‐compiler
>>   that
>>   wasn't mentioned, we decided to try build the only compiler that we
>>   found in the source candidate. So we extracted apollo/gcc.tar.gz and
>>   then ran the following to confirm that it would indeed create a
>>   "armv6z‐mediatek‐linux‐gnueabi‐gcc" file:
>>
>>   grep ‐ri mediatek gcc
>>
>>   However, the above command did not return any results, suggesting
>>   that
>>   this cross‐compiler source would not actually create the
>>   cross‐compiler
>>   binary that was required by the BusyBox source. Since the chance of
>>   success in building all the packages with this cross‐compiler
>>   seemed low
>>   here, we decided against attempting to build this cross‐compiler.
>>
>>   Please ensure that you include all required cross‐compilers (or
>>   instructions for obtaining them) in the next source candidate.
>>   This is
>>   needed to comply with the GPL.

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>>
>>
>>   === linux_core/open_src/linux‐3.10_free.tar.gz ===
>>
>>   We next reviewed the Linux source included in this candidate to
>>   see if
>>   we could at least build the kernel. We extracted this tarball and
>>   then
>>   compared it with the Linux 3.10 release from kernel.org (a "vanilla"
>>   release), hoping to find some differences so we could be sure that a
>>   version of the kernel corresponding to the TV would be built.
>>
>>   However, the difference between the provided Linux source and the
>>   source
>>   from kernel.org was not significant. In particular, there were no
>>   instructions added by Vizio to describe how we might build the kernel
>>   for this specific device, nor even any mention of a particular
>>   cross‐compiler we might wish to use. Furthermore, no *_config file
>>   was
>>   provided to indicate which kernel configuration was required for the
>>   Vizio TV.
>>
>>
>>
>>   == Build attempt conclusion ==
>>
>>   Since it was not possible to build any of the packages that we
>>   attempted
>>   to build in a way that might yield a proper corresponding binary
>>   for the
>>   Vizio TV, we did not try to build the rest of the packages since it
>>   appeared we would run into similar issues. Once we are confident that
>>   we have received an appropriate cross‐compiler and kernel
>>   configuration
>>   (i.e. in your next source candidate), we will attempt to build all
>>   the
>>   packages.
>>
>>
>>
>>   == Next steps ==
>>
>>   Please provide Conservancy with a CCS candidate that corrects all
>>   of the
>>   above issues within 30 days (by the end of the day on March 15,
>>   2019).
>>   This candidate should include complete build and installation
>>   instructions as we described earlier ‐ see
>>   https://compliance.guide/pristine‐example if you'd like to review an
>>   example of this.
>>
>>

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>>
>>   Denver
>>
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>>
>>
>




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